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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11   ORLANDO GARCIA,                                CV 20-10752 PA (GJSx)
12                 Plaintiff,                       JUDGMENT
13          v.
14   GATEWAY HOTEL, L.P.,
15                 Defendant.
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18          Pursuant to the Court’s February 25, 2021 Order granting defendant Gateway Hotel,
19   L.P.’s (“Defendant”) Motion to Dismiss,
20          1.     IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that this action
21   is dismissed with prejudice;
22          2.     IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
23   shall have its costs of suit pursuant to Federal Rule of Civil Procedure 54.
24
25   DATED: February 25, 2021                           _________________________________
                                                                   Percy Anderson
26                                                        UNITED STATES DISTRICT JUDGE
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